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  IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                            PENNSYLVANIA


ROBERT J. TURCO,                             )      CIVIL ACTION NO. 2:19-cv-00174-JFC
                                             )
              Plaintiff,                     )
                                             )
       v.                                    )
                                             )
ZAMBELLI FIREWORKS                           )
MANUFACTURING CO.,                           )
                                             )
              Defendant.                     )

                      CONSENT MOTION TO AMEND COMPLAINT


       Plaintiff, Robert J. Turco, by and through his attorneys, files this motion seeking leave of

Court to file an Amended Complaint, and in support thereof states as follows:

       1.     Plaintiff seeks to file an Amended Complaint in order to add three counts under

the Pennsylvania Human Relations Act. The proposed Amended Complaint is attached as

Exhibit A.

       2.     Defendant consents to this Motion.

       3.     Under the Court’s Case Management Order, entered May 16, 2019, the deadline

to amend the pleadings is today, June 17, 2019.

       For the reasons set forth above, Plaintiff requests leave to file the proposed Amended

Complaint, attached as Exhibit A.


Date: June 17, 2019                                Respectfully submitted,

s/ David B. Spear                                 s/ Manning J. O’Connor II
David B. Spear                                    Manning J. O’Connor II
PA I.D. No. 317386                                PA I.D. No. 38983
Nick Kennedy                                      Justin T. Barron
PA I.D. No. 317386                                PA I.D. No. 200394
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